Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1040 Page 1 of 20




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    8
                               UNITED STATES DISTRICT COURT
    9                        SOUTHERN DISTRICT OF CALIFORNIA
   10   FRANKIE GREER,                             Case No.: 19-cv-00378-GPC-DEB
   11                  Plaintiff,              MEMORANDUM OF POINTS AND
   12                                          AUTHORITIES IN SUPPORT OF
                                               MOTION TO BIFURCATE AND TO
   13   v.                                     STAY PLAINTIFF’S MONELL
                                               CLAIMS AND RELATED
   14   COUNTY OF SAN DIEGO, WILLIAM DISCOVERY
   15   GORE in his individual capacity,
        ALFRED JOSHUA in his individual        Judge:     Hon. Gonzalo P. Curiel
   16   capacity, BARBARA LEE, in her          Courtroom: 2D (2nd Flr)
        individual capacity and DOES 1 to 100,
   17
                       Defendants.                 Magistrate: Hon. Daniel E. Butcher
   18                                              Courtroom: 3A (3rd Flr)
   19
        RELATED CROSS-CLAIM(S)
   20
   21         Defendants, County of San Diego (the “County”), Sheriff William Gore
   22   (“Sheriff Gore”), Alfred Joshua, M.D., Barbara Lee, Macy Germono, Francisco
   23   Bravo, Christopher Simms, and M. Campos (#3780) (individually, “individual
   24   Defendants”;      collectively,   “Defendants”)   hereby   submit   the   following
   25   memorandum of points and authorities in support of the instant motion:
   26
   27
   28

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1041 Page 2 of 20




    1                                                      Table of Contents
    2   I.        INTRODUCTION……………………………..……………………..………1
    3   II.        ARGUMENT ................................................................................................... 3
    4        A. This Court has Authority to Bifurcate Plaintiff’s Monell Claims from His
    5        Other Claims Against the Individual Defendants ................................................... 3
    6
             B. Bifurcation is Warranted in This Case ............................................................. 4
    7
             1. Bifurcation is Necessary to Avoid Juror Confusion and Undue Prejudice to
    8
             the Individual Defendants ....................................................................................... 4
    9
             2. Bifurcation Will Promote Convenience and Economy.................................... 7
   10
   11        3. The Claims to be Bifurcated Involve Separate Issues ................................... 10

   12        C. A Stay of Monell Discovery Until After the Trial of Plaintiff’s Claims
   13        Against the Individual Defendants is Appropriate ............................................... 12
   14   III.       CONCLUSION .............................................................................................. 16
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                     i

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1042 Page 3 of 20




    1                                                 Table of Authorities
    2   Cases
    3   Arnold v. City of Scappoose, 2001 WL 34039490 (D. Or. 2001) ....................... 6, 13
    4   Athridge v Aetna Cas. & Sur. Co., 604 F.3d 625 (D.C. Cir. 2010) ........................... 4
    5   Boyd v. City and County of San Francisco, 2006 WL 680556
    6     (N.D. Cal. 2006) .......................................................................................... 8, 10, 13
    7   Calmar, Inc. v. Emson Research, Inc., 850 F. Supp. 861 (C.D. Cal. 1994).............. 4
    8   Carlstrom v. United States, 275 F.2d 802 (9th Cir. 1960) ........................................ 4
    9   Christie v. Iopa, 176 F.3d 1231 (9th Cir. 1999) ...................................................... 11
   10   City of Canton v. Harris, 489 U.S. 378 (1989) ....................................................... 11

   11   City of Los Angeles v. Heller, 475 U.S. 796 (1986) .............................................. 7, 8
        CMAX, Inc. v. Hall, 300 F.2d 265 (9th Cir. 1962) .................................................. 12
   12
        Computer Assocs. Intern, Inc. v. Simple.com, Inc., 247 F.R.D. 63
   13
          (E.D.N.Y. 2007) ...................................................................................................... 7
   14
        De Anda v. City of Long Beach, 7 F.3d 1418 (9th Cir. 1993) ................................... 4
   15
        Deats v. County of Orange, 2010 WL 11549563 (C.D. Cal. 2010) ........................ 10
   16
        Doyle v. OneWest Bank, N.A., 2015 WL 4605776 (C.D. Cal. 2015) ..................... 12
   17
        Ellingson Timber Co. v. Great N. Ry. Co., 424 F.2d 497 (9th Cir. 1970) .............. 13
   18
        Estate of Gonzalez v. Hickman, 2007 WL 3237635 (C.D. Ca. 2007) ....................... 5
   19   Fairley v. Luman, 281 F.3d 913 (9th Cir. 2002) ....................................................... 8
   20   Farris v. International Paper Inc., 2014 WL 6473273 (C.D. Cal. 2014) ................. 3
   21   Fernandez v. Obesity Research Inst., LLC, 2013 WL 4587005 (E.D. Cal. 2013) . 13
   22   Figueroa v. Gates, 207 F.Supp.2d 1085 (CD. Cal. 2002) ....................................... 12
   23   Gillette v. Delmore, 979 F.2d 1342 (9th Cir. 1992) ................................................ 11
   24   Gomez v. Toledo, 446 U.S. 635 (1980) ................................................................... 10
   25   Hirst v. Gertzen, 676 F.2d 1252 (9th Cir. 1982) ..................................................... 10
   26   Hwang v. City & Cnty. of San Francisco, 2008 WL 4447708 (N.D. Cal. 2008)...... 5
   27   J.W. v. City of Oxnard, 2008 WL 4810298 (C.D. Cal. 2008) ................................... 9
   28   Jones v. City of Chicago, 1999 WL 160228 (N.D. Ill. 1999) ................................. 13
                                                                    ii

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1043 Page 4 of 20




    1   Lemus v. County of Merced, 2017 WL 2671021 (E.D. Cal. 2017) ......................... 13
    2   McDade v. West, 223 F.3d 1135 (9th Cir. 2000)..................................................... 11
    3   Monell v. Dep't of Social Servs., 436 U.S. 658 (1978) ...................................... 10, 11
    4   Morales v. Irizarry, 1996 WL 609416 (S.D.N.Y. 1996)......................................... 14

    5   Myatt v. City of Chicago, 816 F. Supp. 1259 (N.D. Ill. 1992) .............................. 6, 9
        N.P. v. Torrance Unified School Dist., 2009 WL 10700183 (C.D. Cal. 2009) .. 9, 13
    6
        Ojeda-Beltran v. Lucio, 2008 WL 2782815 (N.D. Ill. 2008) .................................. 13
    7
        Osborne v. City of Upland, 2015 WL 1608602 (C.D. Cal. 2015)................. 7, 10, 12
    8
        Quintanilla v. City of Downey, 84 F.3d 353 (9th Cir. 1996) ....................... 4, 5, 6, 11
    9
        Reyna v. County of Los Angeles, 2019 WL 6357251 (C.D. Cal. 2019) ............ 10, 13
   10
        Saxion v. Titan-C-Mfg., Inc., 86 F.3d 553 (6th Cir. 1996) ........................................ 4
   11
        Scott v. Henrich, 39 F.3d 912 (9th Cir. 1994) ........................................................... 8
   12
        Stringer v. City of San Pablo, 2009 WL 5215396 (N.D. Cal. 2009) .................. 6, 10
   13   Washburn v. Fagan, 2006 WL 1072057 (N.D. Cal. 2006) ..................................... 10
   14   Wilkins v. City of Oakland, 2006 WL 305972 (N.D. Cal. 2006) ............................ 10
   15   Wilson v. Morgan, 477 F.3d 326 (6th Cir. 2007) ...................................................... 8
   16
        Statutes
   17
        Fed. R. Civ. P. 26(c) ................................................................................................ 14
   18   Fed. R. Civ. P. 42(b) .................................................................................................. 3
   19   Fed. R. Evid. 404(a)................................................................................................... 7
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                   iii

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1044 Page 5 of 20




    1                                          I.
    2                                    INTRODUCTION
    3         This case involves a head injury sustained by plaintiff, Frankie Greer
    4   (“Plaintiff”) after he fell from the top bunk of his jail cell on February 1, 2018,
    5   while in custody at the San Diego Central Jail (the “County Jail”). On January 31,
    6   2018, San Diego Police Department (“SDPD”) officers arrested Plaintiff for
    7   assaulting a woman with a deadly weapon earlier that day. The SDPD officers took
    8   Plaintiff to the County Jail, located at 1173 Front Street in downtown San Diego,
    9   for booking. Plaintiff, who suffers from a seizure disorder, informed the County
   10   Jail intake nurse of his seizure disorder. The intake nurse noted the seizure disorder
   11   and provided a lower bunk instruction in the County Jail computer system. The
   12   doctor at the County Jail ordered a seizure medication to be administered.
   13   Defendant, Christopher Simms, a deputy with the San Diego Sheriff’s Department,
   14   assigned Plaintiff to a cell within the County Jail. On February 1, 2018, at
   15   approximately 7:00 p.m., Plaintiff fell from the top bunk of his jail cell and hit his
   16   head (the “Incident”). Plaintiff claims that he suffered a seizure before the fall.
   17   (Decl. Mitchell, ¶3).
   18         Plaintiff brought the underlying action against the County and the individual
   19   Defendants alleging civil rights violations and negligence, among others. In the
   20   operative, Second Amended Complaint (“SAC”), Plaintiff alleges causes of action
   21   for (1) deliberate indifference to serious medical needs (42 U.S.C. §1983), (2)
   22   failure to properly train (42 U.S.C. §1983), (3) failure to properly supervise (42
   23   U.S.C. §1983), (4) Monell (42 U.S.C. §1983), (5) negligence, (6) violation of 42
   24   U.S.C. §12101 et seq. (ADA), (7) violation of 29 U.S.C. §794(a) (Rehabilitation
   25   Act), and (8) violation of Cal. Civ. Code §52.1 (Bane Act). (Dkt. No. 59, SAC,
   26   ¶¶166-334).
   27         On September 17, 2020, Plaintiff propounded Request for Production of
   28   Documents, Set Two, on the County (“RFP Set Two”). In pertinent part, RFP Set
                                                    1

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1045 Page 6 of 20




    1   Two seeks all reports and emails from the National Commission on Correctional
    2   Healthcare (“NCCHC”) and Barbara Lee regarding any audit, review, or
    3   investigation conducted by the NCCHC of San Diego County jails, of which there
    4   are six. The time period for the request is from January 1, 2013, to February 28,
    5   2018. (Decl. Mitchell, ¶4, Ex. A).
    6         On August 12, 2021, Plaintiff’s attorney deposed Alfred Joshua, M.D., the
    7   Chief Medical Officer for the Sheriff’s Department at the time of the Incident.
    8   Plaintiff’s attorney questioned Dr. Joshua at great length regarding inmate deaths
    9   and other issues unrelated to the Incident. (Decl. Mitchell, ¶5, Ex. B).
   10         On August 19, 2021, Plaintiff propounded Request for Production of
   11   Documents, Set Four, on the County (“RFP Set Four”). RFP Set Four consists of
   12   22 requests that seek all documents and electronically stored information,
   13   including the entire homicide investigations, Internal Affairs files and records and
   14   all Critical Incident Review Board (“CIRB”) reports or memoranda, related to the
   15   following inmates:
   16         1)     Daniel Sisson, who purportedly died on 6/25/2011;
   17         2)     Bernard Victorianne, who purportedly died on 9/19/2012;
              3)     Kristopher NeSmith, who purportedly died on 3/1/2013;
   18         4)     Ronnie Sandoval, who purportedly died on 2/23/2014;
   19         5)     Jerry Lee Chochran, who purportedly died on /16/2014;
              6)     Ruben Nunez, who purportedly died on 8/13/2015;
   20         7)     Jason Nishimoto, who purportedly died on 9/27/2015;
   21         8)     Richard Boulanger, who purportedly died on 2/14/2016;
              9)     Adrian Sanchez, who purportedly died on 5/3/2016;
   22         10)    Heron Moriarty, who purportedly died on 5/31/2016;
   23         11)    Bruce Madsen Stucki, who purportedly died on 3/18/2017; and
              12)    Wellington Robert Kemplin, who purportedly died on
   24                8/15/2017.
   25         (Decl. Mitchell, ¶6, Ex. C at pp. 6-11). RFP Set Four also seeks a list of all
   26   attendees present at any CIRB meetings regarding the inmates who purportedly
   27   died while in custody. (Decl. Mitchell, ¶6, Ex. C at p. 9). None of the requests
   28   relate to the Incident. (Decl. Mitchell, ¶6).
                                                    2

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1046 Page 7 of 20




    1          That same day, Plaintiff’s attorney deposed defendant, Barbara Lee, the
    2   medical administrator at the County Jail. As with Dr. Joshua, Plaintiff’s attorney
    3   questioned Ms. Lee at great length regarding inmate deaths and other issues
    4   unrelated to the Incident. (Decl. Mitchell, ¶7, Ex. D).
    5          On November 17, 2021, Plaintiff propounded Special Interrogatories, Set
    6   One, on Sheriff William Gore (“ROG Set One”). In pertinent part, ROG Set One
    7   asks for the names of all decedents, detainees, arrestees, suspects, and Citizens’
    8   Law Enforcement Review Board (“CLERB”) complainants who are the subject of
    9   a CLERB investigation for the time period from March 1, 2014, to March 1, 2018.
   10   None of the requests relate to the Incident. (Decl. Mitchell, ¶8, Ex. E).
   11          Plaintiff has taken the position that the foregoing discovery requests are
   12   relevant to the Monell claims. The County disputes this.1 Assuming Plaintiff is
   13   correct, the foregoing discovery requests are nonetheless irrelevant to the
   14   individual Defendants’ liability for the Incident. Without bifurcation and a
   15   discovery stay, the already protracted discovery phase will be further complicated
   16   and delayed by the ongoing and foreseeable further discovery disputes.
   17                                               II.
   18                                          ARGUMENT
   19          A. This Court has Authority to Bifurcate Plaintiff’s Monell Claims from
   20             His Claims Against the Individual Defendants

   21          Courts may order separate trials of one or more separate issues, claims,
   22   counterclaims, crossclaims of third party claims for convenience, to avoid
   23   prejudice, or to expedite and economize. Fed. R. Civ. P. 42(b); see Farris v.
   24   International Paper Inc., 2014 WL 6473273, *24 (C.D. Cal. 2014); see also
   25   Athridge v Aetna Cas. & Sur. Co., 604 F.3d 625, 635 (D.C. Cir. 2010) (bifurcation
   26   appropriate “where the evidence offered on two different issues will be wholly
   27   1
          It is the County’s position that most of Plaintiff’s discovery requests are not relevant or
        reasonably calculated to lead to relevant evidence. The County’s response to ROG Set One is not
   28   yet due. The requests in RFP Set Four are the subject of a pending discovery motion.
                                                      3

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1047 Page 8 of 20




    1   distinct, or where litigation of one issue may obviate the need to try another
    2   issue”). Ordering separate trials is the procedure whereby the court may “split” a
    3   single lawsuit and order a separate trial of particular claims. De Anda v. City of
    4   Long Beach, 7 F.3d 1418, 1421 (9th Cir. 1993). Under Rule 42(b), the district
    5   court has broad discretion to order separate trials; the exercise of that discretion
    6   will be set aside only if clearly abused. See Carlstrom v. United States, 275 F.2d
    7   802 (9th Cir. 1960); accord Charles A. Wright, et al., 9A Fed. Prac. & Proc.
    8   (Trials) § 2387 (3rd ed. rev. 2015) (Rule 42(b) “giv[es] the district court virtually
    9   unlimited freedom to try the issues in whatever way trial convenience requires.”).
   10   A separate trial may be ordered on motion of any party or the court’s own motion.
   11   Saxion v. Titan-C-Mfg., Inc., 86 F.3d 553, 556 (6th Cir. 1996).
   12         B.    Bifurcation is Warranted in This Case
   13         The factors that courts consider when determining whether to bifurcate a
   14   trial include: “avoiding prejudice, separability of the issues, convenience, judicial
   15   economy, and reducing risk of confusion.” See Quintanilla v. City of Downey, 84
   16   F.3d 353, 356 (9th Cir. 1996); see also Calmar, Inc. v. Emson Research, Inc., 850
   17   F. Supp. 861, 866 (C.D. Cal. 1994) (“Factors to be considered… include
   18   complexity of issues, factual proof, risk of jury confusion, difference between the
   19   separated issues, the chance that separation will lead to economy in discovery and,
   20   the possibility that the first trial may be dispositive of the case.”). As discussed in
   21   detail below, all these factors weigh in favor of bifurcation.
   22              1.   Bifurcation is Necessary to Avoid Juror Confusion and Undue
   23                   Prejudice to the Individual Defendants

   24         Bifurcation of Plaintiff’s Monell claims will avoid unfair prejudice to the
   25   individual Defendants and will not prejudice Plaintiff. Plaintiff will likely attempt
   26   to prove his Monell claims by introducing evidence concerning alleged misconduct
   27   of non-party Sheriff’s deputies and medical staff that stem from prior unrelated
   28   incidents. In fact, this is a main focus of Plaintiff’s RFP Set Two to the County,
                                                   4

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1048 Page 9 of 20




    1   RFP Set Four to the County, and ROG Set One to the Sheriff, which seek years of
    2   unrelated complaints, investigations, reports, and disciplinary information
    3   concerning not only the County Jail where Plaintiff fell, but all six San Diego
    4   County jails on issues entirely unrelated to this case. (See Decl. Mitchell, ¶¶4, 6, 8,
    5   Exs. A, C, E). The simultaneous presentation of this Monell evidence and evidence
    6   related to Plaintiff’s individual claims will unfairly prejudice the individual
    7   Defendants by tainting them with unrelated claims of alleged wrongdoing that have
    8   nothing to do with their conduct during the Incident. See Quintanilla, 84 F.3d 353,
    9   356 (“The district court, under Fed. R. Civ. P. 42(b), in the interest not only of
   10   convenience and judicial economy but also the avoidance of potential prejudice
   11   and confusion, bifurcated the trial of the individual police officers from the Chief
   12   and city.”); see also Estate of Gonzalez v. Hickman, 2007 WL 3237635, at *10 n.
   13   19 (C.D. Ca. 2007) (granting bifurcation where evidence would otherwise cause
   14   unfair prejudice, which “means undue tendency to suggest decision on an improper
   15   basis, commonly…an emotional one”) (citation and quotation marks omitted); see
   16   also Hwang v. City & Cnty. of San Francisco, 2008 WL 4447708, *2 (N.D. Cal.
   17   2008) (Where “the great majority of evidence relevant to [a Monell claim] will not
   18   be relevant to the claims against the individual defendants, submission of such
   19   evidence is likely to be unfairly prejudicial to such individual defendants.”).
   20         The issue of Monell bifurcation was addressed by the Ninth Circuit in
   21   Quintanilla v. City of Downey, 84 F.3d 353. In Quintanilla, the Court affirmed the
   22   trial court’s decision to bifurcate the Monell claim from the claims against the
   23   individual officers. Id. at 354-357. The plaintiff in Quintanilla alleged that the use
   24   of a police dog against him amounted to excessive force. Id. at 354. The plaintiff
   25   sought to introduce evidence concerning various unrelated dog bites and expert
   26   police practices’ testimony as to the training of police dogs and the severity of
   27   injuries caused by police dogs. Id. at 354-355. The district court bifurcated the trial
   28   and excluded the Monell evidence during the individual-liability phase of the trial.
                                                   5

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1049 Page 10 of 20




     1   Id. The Ninth Circuit affirmed on the ground that the individual officers’ liability
     2   was the initial issue:
     3         [T]he evidence was premature. The Chief and city’s liability under
               Monell was not yet at issue. Admitting evidence pertaining to the
     4         Monell issue could well have unfairly prejudiced the Chief and city
     5         and confused the jury as it considered the individual officers’ actions
     6         Id. at 356; see also Stringer v. City of San Pablo, 2009 WL 5215396, at *6-7
     7   (N.D. Cal. 2009) (bifurcating Monell claims because of potential prejudice to
     8   individual officers and to promote judicial economy); Arnold v. City of Scappoose,
     9   2001 WL 34039490 (D. Or. 2001) (granting motion to bifurcate claims against
    10   officers from Monell claims); Myatt v. City of Chicago, 816 F. Supp. 1259, 1264
    11   n.8 (N.D. Ill. 1992) (“Bifurcation [of Monell] would also avoid prejudicing the
    12   defendants.”). Here, bifurcation is proper to prevent prejudice to any of the
    13   individual Defendants in this case.
    14         The simultaneous introduction of Monell-related evidence will also lead to
    15   juror confusion. See Quintanilla, 84 F.3d at 356 (“Admitting evidence pertaining
    16   to the Monell issue could well…confused the jury as it considered the individual
    17   officers’ actions.”). Here, the vast majority of evidence supporting Plaintiff’s
    18   Monell claims is separate and distinct from the evidence supporting his underlying
    19   claims of Fourteenth Amendment violations against the individual Defendants.
    20   Introducing    voluminous     evidence   of    unrelated   complaints,    personnel
    21   investigations, and departmental action to establish Plaintiff’s Monell claims will
    22   likely confuse the jury of the facts relevant to the issue in determining the
    23   individual Defendants’ individual liability. Such evidence will likely distract the
    24   jury from the issues of what happened during the Incident involving Plaintiff and
    25   whether a constitutional violation actually occurred. The jury might well conclude
    26   that because other non-party individuals engaged in past misconduct, that the
    27   individual Defendants acted unconstitutionally on this occasion. Thus, the
    28   possibility of evidentiary spillover unnecessarily risks confusing the jury and
                                                  6

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1050 Page 11 of 20




     1   prejudicing the individual Defendants. See Osborne v. City of Upland, 2015 WL
     2   1608602 (C.D. Cal. 2015); see, e.g., Computer Assocs. Intern, Inc. v. Simple.com,
     3   Inc., 247 F.R.D. 63, 67 (E.D.N.Y. 2007) (courts ought to consider whether
     4   “bifurcation will increase juror comprehension.”).
     5         Even with a limiting instruction, the introduction of Monell-related evidence
     6   will inflame the jury’s passion and likely cause the jury to infer that the individual
     7   Defendants are probably liable to the extent there may have been other similar
     8   complaints made against them or other nonparty Sheriff’s deputies or medical staff
     9   in the past. Thus, Plaintiff would be using this evidence as improper and
    10   inadmissible character evidence. See Fed. R. Evid. 404(a) (which prohibits the use
    11   of character evidence to prove conduct in conformity with a character trait on a
    12   specified occasion). Accordingly, Plaintiff’s Monell claims should be bifurcated
    13   due to the likelihood that Monell-related evidence will unduly prejudice the
    14   individual Defendants and cause juror confusion.
    15         Similarly, bifurcation will not prejudice Plaintiff. If a constitutional violation
    16   is found to have occurred, or if the individual Defendants are granted qualified
    17   immunity, Plaintiff will be afforded the opportunity to proceed with his Monell
    18   claims in a second phase. Moreover, if there is a judgment for the individual
    19   Defendants on the question of a constitutional violation, then the County is not
    20   liable. City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986). Thus, the trial on
    21   the Monell claims is only likely if there is a judgment in Plaintiff’s favor, or in
    22   favor of the individual Defendants on some ground other than the absence of a
    23   constitutional violation, such as qualified immunity.
    24            2.    Bifurcation Will Promote Convenience and Economy
    25         Bifurcation will prevent unnecessary consumption of judicial and litigant
    26   time and resources. If the individual Defendants are found not to have violated
    27   Plaintiff’s constitutional rights, Plaintiff will be precluded from pursuing his
    28   Monell claim against the County. Heller, supra, 475 U.S. at 799. In City of Los
                                                    7

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1051 Page 12 of 20




     1   Angeles v. Heller, the Supreme Court held that a public entity is not liable for
     2   section 1983 damages under a policy that can cause constitutional deprivations,
     3   when the factfinder concludes that an individual defendant, acting pursuant to the
     4   policy, inflicted no constitutional harm to the plaintiff. 475 U.S. at 799. In so
     5   holding, the Court stated:
     6         [if] a person has suffered no constitutional injury at the hands of the
               individual police officer, the fact that the departmental regulations
     7         might have authorized the use of constitutionally excessive force is
     8         quite beside the point.
     9         Id. (emphasis in original); see also Wilson v. Morgan, 477 F.3d 326, 340
    10   (6th Cir. 2007) (“The magistrate judge’s decision to bifurcate the trial was
    11   eminently reasonable in the interests of judicial economy and avoiding possible
    12   juror confusion. It was not an abuse of discretion to bifurcate individual liability
    13   from municipal liability, and it would be illogical to try the municipality first since
    14   its liability under §1983 could not be determined without a determination of the
    15   lawfulness of the individuals’ actions.”). Here, any liability on the County’s part is
    16   therefore derivative of, and flows from, any underlying constitutional injury. See
    17   Id. Accordingly, bifurcation is conducive to expedition and economy because a
    18   finding that the individual Defendants did not deprive Plaintiff of his constitutional
    19   rights is dispositive of Plaintiff’s claim against the County. Id.; see Fairley v.
    20   Luman, 281 F.3d 913, 916 (9th Cir. 2002) (“Exoneration of [the individual officer]
    21   of the charge of excessive force precludes municipal liability for the alleged
    22   unconstitutional use of such force.”); see also Scott v. Henrich, 39 F.3d 912, 916
    23   (9th Cir. 1994) (holding, where individual officers were entitled to judgment on
    24   ground they did not use excessive force, public entity was entitled to judgment on
    25   claim public entity failed to adequately train officers); see also Boyd v. City and
    26   County of San Francisco, 2006 WL 680556, *2 (N.D. Cal. 2006).
    27         Additionally, the time it will take to present evidence relevant to Plaintiff’s
    28   claims against the individual Defendants will be relatively limited, given the brief
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1052 Page 13 of 20




     1   nature of the Incident and the limited number of percipient witnesses. However,
     2   with respect to Plaintiff’s Monell claims, it appears Plaintiff intends to introduce a
     3   large body of evidence and testimony concerning other alleged Sheriff deputy
     4   misconduct, inmate mistreatment and deaths, internal investigations, NCCHC
     5   audits, CLERB reviews, CIRB reports, other lawsuits, and outcomes that are
     6   wholly unrelated to evidence supporting Plaintiff’s claims against the individual
     7   Defendants, and the presentation of such evidence will significantly extend the trial
     8   time. Myatt, supra, 816 F. Supp. at 1264, (proving a Monell violation requires
     9   substantially more time and evidence - and resulting judicial and litigant resources
    10   - than trial of the underlying constitutional violation). For example, it appears that
    11   the key documentary evidence Plaintiff intends to support his Monell claims
    12   include, among other things, unrelated prior deaths regardless of cause and
    13   regardless of whether there was a complaint or finding of misconduct for all six of
    14   the County jails and all documentation related to the deaths. (Decl. Mitchell, ¶9).
    15         The anticipated Monell testimony is also substantial. In his RFP Set Four to
    16   the County, Plaintiff identifies fifteen other inmates who were purportedly
    17   mistreated and/or died at a San Diego County jail. The other, unrelated incidents
    18   involve various other Sheriff’s deputies, nurses, doctors, mental health
    19   professionals, and other County staff. In calling these Monell witnesses, the
    20   County would then have to respond by calling its own witnesses to rebut or
    21   respond to the testimony of those witnesses. Consequently, the presentation of this
    22   Monell testimony would – in effect – result in numerous mini-trials relating to
    23   incidents entirely unrelated to the subject Incident.
    24         In sum, if bifurcation is granted, “the Court will save a great deal of time and
    25   resources,” and any potential prejudice and confusion will be avoided. See J.W. v.
    26   City of Oxnard, 2008 WL 4810298, *15 (C.D. Cal. 2008). For these reasons,
    27   district courts have repeatedly granted similar motions to bifurcate. See, e.g., N.P.
    28   v. Torrance Unified School Dist., 2009 WL 10700183 (C.D. Cal. 2009); Osborne,
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1053 Page 14 of 20




     1   supra, 2015 WL 1608602 (C.D. Cal. 2015); Deats v. County of Orange, 2010 WL
     2   11549563 (C.D. Cal. 2010); Reyna v. County of Los Angeles, 2019 WL 6357251
     3   (C.D. Cal. 2019); Washburn v. Fagan, 2006 WL 1072057 (N.D. Cal. 2006); Boyd,
     4   supra, 2006 WL 680556; Wilkins v. City of Oakland, 2006 WL 305972 (N.D. Cal.
     5   2006); Stringer, supra, 2009 WL 5215396. Resolution of Plaintiff’s claims against
     6   the individual Defendants may obviate the need for a trial on the Monell claims,
     7   which economizes the Court’s and parties’ time. Thus, in the interest of potentially
     8   shortening the overall litigation, bifurcation is appropriate under these
     9   circumstances.
    10             3.     The Claims to be Bifurcated Involve Separate Issues
    11         In deciding whether to order separate trials, the Court may also consider
    12   whether the issues are clearly separable. Hirst v. Gertzen, 676 F.2d 1252, 1261 (9th
    13   Cir. 1982). Here, bifurcation will divide claims that involve different issues as well
    14   as different facts, witnesses, and documentary evidence.
    15         In general, to prevail on a section 1983 claim, Plaintiff must prove the
    16   deprivation of a constitutional right and that the person who deprived him of that
    17   right acted under color of state law. See Gomez v. Toledo, 446 U.S. 635, 640
    18   (1980). On the other hand, a public entity, such as the County of San Diego, cannot
    19   be held liable under section 1983 on a respondeat superior theory “solely because it
    20   employs a tortfeasor” See Monell v. Dep't of Social Servs., 436 U.S. 658, 691
    21   (1978). Rather, the public entity can only be sued under section 1983 if the alleged
    22   violation of a constitutional right was caused by its policy or custom. Id. at 691.
    23         In general, a plaintiff can establish such liability in one of three ways: First,
    24   a plaintiff can show that a person with decision-making authority within the public
    25   entity expressly authorized an unconstitutional policy or order. See id. at 694.
    26   Second, a plaintiff can demonstrate that a public entity failed to adequately train its
    27   employees and that such failure constitutes deliberate indifference to the rights of
    28   individuals who may come into contact with those employees. See City of Canton
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1054 Page 15 of 20




     1   v. Harris, 489 U.S. 378, 388–89 (1989). Finally, a plaintiff can establish that his
     2   constitutional rights were violated by a practice “so permanent and well settled as
     3   to constitute a ‘custom or usage’” of the public entity. Monell, supra, 436 U.S. at
     4   694. Plaintiff alleges that the County may be held liable under the second and last
     5   of these theories. (Dkt. No. 59, SAC, ¶269.)
     6         To prevail under these theories of liability, Plaintiff will be required to
     7   establish that there existed a well-established custom or practice of the County,
     8   which cannot be proven with a single occurrence. See McDade v. West, 223 F.3d
     9   1135, 1141 (9th Cir. 2000). To establish a custom, “a plaintiff must prove the
    10   existence of a practice that is so permanent and well settled as to constitute a
    11   custom or usage with the force of law.” Gillette v. Delmore, 979 F.2d 1342, 1349
    12   (9th Cir. 1992). Liability for improper custom may not be predicated on isolated or
    13   sporadic incidents; it must be founded upon practices of sufficient duration,
    14   frequency, and consistency that the conduct has become a traditional method of
    15   carrying out policy.” Christie v. Iopa, 176 F.3d 1231, 1235 (9th Cir. 1999) (citing
    16   Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996)).
    17         Accordingly, for Plaintiff to establish the existence of a custom, practice or
    18   policy, Plaintiff will necessarily have to introduce evidence of prior allegations of
    19   other constitutional violations and alleged County misconduct. However, such
    20   evidence is entirely irrelevant to the issue of whether the individual Defendants
    21   violated Plaintiff’s constitutional rights. More importantly, bifurcation will avoid
    22   prejudice to the individual Defendants, as the evidence relevant to the claims
    23   against the individual Defendants does not overlap in any meaningful way with the
    24   evidence relevant to the claims against the County. See, e.g., Quintanilla, supra, 84
    25   F.3d at 356 (“[a]dmitting evidence pertaining to the Monell issue could well have
    26   unfairly prejudiced the Chief and city and confused the jury as it considered the
    27   individual officers’ actions.”). Moreover, bifurcation will simplify the causes of
    28   action at trial and allow a smoother presentation of evidence, e.g. fewer objections
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1055 Page 16 of 20




     1   and evidentiary restrictions will serve judicial efficiency. See, e.g., Osborne, supra,
     2   2015 WL 1608602, at *9.
     3         To the extent that Plaintiff contends that alleged prior misconduct is relevant
     4   to his punitive damages’ claim, the County also requests bifurcation of Plaintiff’s
     5   claim for punitive damages from trial against the individual Defendants. Plaintiff
     6   should be allowed to present evidence of malicious conduct warranting punitive
     7   damages only if liability is first found for any claim warranting punitive damages.
     8   Proceeding first with the issue of liability for Plaintiff’s causes of action for civil
     9   rights violations may forestall the necessity of proceeding with an extended trial
    10   with disputed testimony on the issue of punitive damages. See Figueroa v. Gates,
    11   207 F.Supp.2d 1085, 1101-1102 (CD. Cal. 2002) (If the officers are found to be
    12   not liable, then there would be no need to proceed to the Monell and punitive
    13   damages questions, as they are premised on a finding of unconstitutional action by
    14   the officers; bifurcation of punitive damages claim, in addition to Monell claim,
    15   will promote convenience and efficiency). This request will further prevent undue
    16   prejudice to Defendants by preventing the introduction of excessively large
    17   damage figures before liability is ascertained. Consequently, bifurcation of
    18   Plaintiff’s punitive damages claim is warranted in this instance.
    19         C. A Stay of Monell Discovery Until After the Trial of Plaintiff’s Claims
    20            Against the Individual Defendants is Appropriate

    21         The same reasons that support bifurcation also provide good cause for a stay
    22   of discovery with respect to the claims against the County until Plaintiff’s claims
    23   against the individual Defendants are adjudicated. See CMAX, Inc. v. Hall, 300
    24   F.2d 265, 268 (9th Cir. 1962) (in determining the propriety of a stay, courts look to
    25   issues of judicial economy and the prejudice to either party that may result if the
    26   stay is granted or denied); see also Doyle v. OneWest Bank, N.A., 2015 WL
    27   4605776, at *3 (C.D. Cal. 2015) (a stay can be indicated where resolution of
    28   another case “may have a substantial impact” on the pending matter).
                                                   12

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1056 Page 17 of 20




     1         The Court has broad discretion under Rule 26(c) of the Federal Rules of
     2   Civil Procedure to control the scope and sequence of discovery. See Fernandez v.
     3   Obesity Research Inst., LLC, 2013 WL 4587005, at *6 (E.D. Cal. 2013) (The
     4   court’s power to stay proceedings stems from the court’s inherent ability to control
     5   the disposition of cases on its docket). Here, under the circumstances of this case, a
     6   stay of Monell discovery until after the trial on the liability of the individual
     7   Defendants is appropriate.
     8         “One of the purposes of Rule 42(b) is to permit deferral of costly and
     9   possibly unnecessary discovery proceedings pending resolution of potentially
    10   dispositive preliminary issues.” Ellingson Timber Co. v. Great N. Ry. Co., 424
    11   F.2d 497, 499 (9th Cir. 1970). Courts have stayed Monell discovery “to conserve
    12   the resources of the parties and the court.” See, e.g., Jones v. City of Chicago, 1999
    13   WL 160228 (N.D. Ill. 1999); Reyna, supra, 2019 WL 6357251, at *2 (C.D. Cal.
    14   2019) (staying Monell discovery since municipal liability claim is only likely if
    15   there is a constitutional violation or defendants are were entitled to qualified
    16   immunity); Lemus v. County of Merced, 2017 WL 2671021, at *3 (E.D. Cal. 2017)
    17   (staying Monell discovery since claim against County is derivative of an
    18   underlying constitutional injury); Boyd, supra, 2006 WL 680556 (staying Monell
    19   discovery in light of bifurcation order); N.P., supra, 2009 WL 10700183, at *3)
    20   (staying Monell discovery following bifurcation order); Arnold, supra, 2001 WL
    21   34039490, at *2 (“There is significant judicial economy in separating the question
    22   of the constitutionality of the actions of the individual officers from the question of
    23   municipal liability under Monell…”); Ojeda-Beltran v. Lucio, 2008 WL 2782815,
    24   at *3-4 (N.D. Ill. 2008) (bifurcating and staying Monell, because “litigation of the
    25   Monell claim is likely to require a considerable investment of resources on the part
    26   of the parties and the Court outside of those required for the resolution of the
    27   claims against Defendant Officers.”).
    28   ///
                                                   13

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1057 Page 18 of 20




     1         Because “the proof required to establish a Monell claim is substantially
     2   different from the proof necessary to establish individual liability, the most prudent
     3   course is to try the Monell claims separately and to stay discovery concerning those
     4   claims until the liability of the individual defendants is established.” Morales v.
     5   Irizarry, 1996 WL 609416 (S.D.N.Y. 1996). As Plaintiff will likely concede, in
     6   order to prove the unlawful County policies alleged, Plaintiff will require
     7   discovery with respect to, among other things, incidents involving non-party
     8   Sheriff’s deputies, medical staff, and other personnel. Because such discovery has
     9   no apparent relevance to the claims against the individual Defendants, a stay will
    10   conserve the resources of the parties and the Court by deferring such discovery
    11   until such time as one or more of the individual Defendants have been found liable
    12   or entitled to qualified immunity. See Fed. R. Civ. P. 26(c) (providing courts may
    13   issue protective order to effect that discovery “may be had only on specified terms
    14   and conditions” in order “to protect a party or person from annoyance,
    15   embarrassment, oppression or undue burden or expense.”).
    16         Such a stay is appropriate in this case. As discussed above, Plaintiff has
    17   propounded numerous discovery requests concerning Plaintiff’s Monell claims. It
    18   has and will require the expenditure of substantial County time and resources to
    19   answer this discovery. (Decl. Mitchell, ¶10). Plaintiff’s highly burdensome
    20   discovery requests include, among other things, the following: communications
    21   between CLERB and the Sheriff’s Department in prior inmate death cases;
    22   homicide investigation files; Internal Affairs investigation files; CIRB reports;
    23   medical records for each inmate who died; interviews with medical and
    24   correctional staff at all of the County jails; interviews with percipient witnesses;
    25   and for the time period March 1, 2014, to March 1, 2018: dates of all CIRB
    26   meetings and names of all decedents, detainees, arrestees, suspects, and CLERB
    27   complainants who are the subject of a CLERB investigation; descriptions of each
    28   incident where Sheriff Gore or CLERB disciplined a Sheriff’s employee or agent;
                                                   14

         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1058 Page 19 of 20




     1   each incident where CLERB found misconduct by a Sheriff’s deputy; each
     2   incident where Sheriff Gore adopted CLERB’s recommendation for imposing
     3   discipline for a Sheriff’s deputy or making a policy change; who Sheriff Gore met
     4   with regarding inmate medical care in all six of the County jails, how often he
     5   met, and all documents related to the meetings. (Id., Ex. D).
     6         Defendants anticipate that this is only the beginning of Plaintiff’s discovery
     7   on these Monell issues, and that Defendants will soon face even broader requests
     8   regarding the County’s policies, practices, or customs, unrelated incidents beyond
     9   the scope of this case, and the County disciplinary process. Plaintiff will likely
    10   seek depositions on these topics as well in addition to the recently concluded
    11   depositions of Dr. Joshua and Ms. Lee. In fact, despite there only being no actual
    12   percipient witnesses to the Incident, Plaintiff’s attorneys have deposed in excess of
    13   10 witnesses of the individual Defendants and other non-party witnesses associated
    14   with the County. (Decl. Mitchell, ¶11). Currently, Plaintiff’s attorney is seeking to
    15   exceed the limit of allowable depositions in order to depose the person most
    16   knowledgeable for the County. (Id). All future depositions will likely focus on
    17   gathering Monell-related testimony. (Id). By postponing Monell, further
    18   burdensome discovery in this regard can be avoided until it is necessary after trial
    19   of the claims against the individual Defendants. Accordingly, the Court should
    20   order a stay of Monell and related discovery under Rule 26(c), because the stay
    21   will greatly reduce the expense, length, and burden of this litigation on the Court
    22   and the parties.
    23   ///
    24   ///
    25   ///
    26   ///
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
Case 3:19-cv-00378-JO-DEB Document 114-1 Filed 12/10/21 PageID.1059 Page 20 of 20




     1                                             III.
     2                                     CONCLUSION
     3         For the reasons set forth above, the County respectfully requests that the
     4   Court grant the instant motion in its entirety, bifurcating Plaintiff’s Monell claims
     5   and staying discovery relating thereto.
     6
     7   Dated: December 10, 2021            MCDOUGAL LOVE BOEHMER FOLEY
                                             LYON & MITCHELL
     8
     9
                                         By: s/Carrie L. Mitchell
    10                                       Carrie L. Mitchell
                                             Attorneys for Defendants, County of San
    11
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                                             Bravo, Christopher Simms, and M. Campos
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO BIFURCATE AND STAY
